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Court-Apnointed Temporary Receiver for Link Motion Inc,

R b t W S . d Pursuant to The Honorable Judge Victor Marrero of the
0 e r . e l e n United States District Court, Southern District of New York

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Hon. Victor Marrero

United States Courthouse Le
Southern District of New York

500 Pearl Street, Suite 1040

New York, New York 10007

October 7, 2019

REQUEST FOR THIS LETTER AND THE ATTACHED INVOICES TO BE
MAINTAINED UNDER SEAL

Re: Interim Receiver Status Report and Fee Application of the Temporary Court-
Appointed Receiver of Link Motion, Inc. (Wayne Baliga v. Link Motion Inc. et al.
1;18-cv-11642)

Dear Honorable Judge Marrero,

i write to you pursuant to your Honor’s February 1, 2019 Order (the “Order” to
provide an interim status report. In addition, I respectfully request that your honor review
and if acceptable, approve the invoices of the Receiver and his professionals.

Interim Status Report

Pursuant to Section 8 of your Honor’s Order, set forth below is a summary of the
key updates since the last-filed status report, filed on April 17, 2019.

1. The Receiver continues to work with and guide Kobre & Kim LLP, foreign legal
counsel in Hong Kong as well as accounting firm KLC Corporate Advisory to assist
him in his duties outside of the United States. The Receiver has recently engaged
(with Court approval) KSG Attorneys at Law in the Cayman Islands to assist with

securing and maintaining assets and with other issues related to corporate
governance.

2. The Receiver and his U.S. counsel filed a required form 6-K with the SEC reporting
that the Receiver has appointed a new director of the Hong Kong subsidiary of Link
Motion, Inc. as well as removed and replaced the Legal Representative of the
wholly foreign-owned enterprise (““WFOE”) in the People’s Republic of China.

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3. The Receiver, as Ordered by the Court, and upon advice of Hong Kong counsel, is
participating in the arbitration proceedings in Hong Kong where the Company is a
party. The arbitration tribunal issued its Procedural Order, which sets out the
procedural timetable for the proceeding. The Order confirms the proposed dates of
March 30 — April 3, 2020, and also schedules a pre-hearing conference for March
4 2020. The governing law in the arbitration proceeding is New York law. Amiad
Kushner, Esq. of Seiden Law Group LLP in New York will lead the arbitration
litigation on behalf of the Receiver. Mr. Kushner is a very experienced arbitration
attorney and has vast experience in Hong Kong arbitration proceedings. Counsel
for the Receiver are currently working on a statement of Defense and
Counterclarms on behalf of Link Motion, Inc., which will include legal authorities,
briefing and testimonial evidence in support of Link Motion, Inc.’s defenses and
counteclaims. In addition, the Receiver’s staff continue to work diligently
reviewing and analyzing contracts, legal documents and emails produced by DLA
Piper, Marcum, Skadden Arps and Loeb & Loeb for purposes of evaluating the
complex financial transactions entered into by Link Motion, Inc. with various
related and unrelated entities. This evaluation will help inform the arbitrators and
ongoing Chinese legal proceedings.

4, The Receiver, upon advice of counsel, continues its work to identify, secure and
preserve assets of Link Motion, Inc., including sending formal letters to commercial
partners in the United States ensuring that they are aware of the Receivership orders
in the U.S. and Hong Kong.

5. The Receiver continues to seek cooperation from former Officer and Directors of
Link Motion, Inc. and former counsel to Link Motion and the Special Committee
and follows up on demands. for. information as well.as. formal letters. requesting
information and compliance with the Courts Order.

6. The Receiver and his team analyzed documents and communication records

produced by third party service providers in the US that had been engaged by the
Company.

7. The Receiver in concert with the Hong Kong co-Receiver and their legal counsel
had previously taken formal control of Link Motion, Inc.’s Hong Kong subsidiary
and this has been formally recognized by the Hong Kong company registry offices
in Hong Kong. The Receiver then began to take the proper steps to gain formal
control of the wholly foreign-owned enterprise (WFOE) in the People’s Republic
of China and that entity’s bank assets. The Receiver has appointed Mr. Lilin Guo
to act as Chairman and legal representative of Link Motion, Inc. inside the PRC.
Mr, Guo has successfully negotiated with other significant Link Motion, Inc.
shareholders inside the PRC to assist in the process of gaining control of the VIE
contracts that ultimately maintain control over the Link Motion, Inc. PRC
subsidiaries, These activities are ongoing and include legal proceedings inside

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China. The Receiver has also continued to work with Mr. Jianfeng Li who has
provided translation and advisory services inside China.

8. The Receiver has interviewed management from Link Motion, Inc.’s Finland
operation in regards to possibilities for monetizing the Company’s intellectual
property.

Receivership Account and Invoices

Section 5 of your Honor’s Order provides for a bank account “to fund the
Receivership including the compensation and expenses of the Receiver, which are subject
to the approval of the Court.” The Court ordered that Link Motion, Inc. “cooperate with
the Receiver in establishing and funding the Receivership Account” with a minimum
balance of $100,000. Link Motion, inc. has not complied with this order and no funds have
been provided.

Section 6 of the Order states, “The Receiver and his professionals shall be paid on
an hourly basis at a reasonable and customary rate for such work to be approved by the
Court and paid promptly out of the Receivership Estate... Payment of the Receiver's
compensation and expenses shall have priority over all other obligations, payments, or
distributions of the Company.” The Receiver respectfully requests that the attached
invoices be reviewed by your honor, and subject to your approval, permit the Receiver to
pay invoices to professionals and the Receiver who have been working tirelessly on this
matter since February 1, 2019. The Receiver has carefully reviewed each invoice and
believes they are fair and reasonable under the circumstances. The Receiver respectfully
requests this Court’s approval to pay the invoices upon approval of the Court from the Link
Motion, Inc. funds that have been received in the Receiver escrow trust account.

Please do not hesitate to contact me via email or telephone if your honor wishes to
discuss this request in more detail.

Respectfully submitted;—

Robert W. Seiden, Esq.
Court-Appointed Temporary Recetver far
Link Motion, Ine.

